                     Case 4:07-cr-00317-JM Document 863 Filed 01/03/13 Page 1 of 4
A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1



                                      UNITED STATES DISTRICT COURT                                                    JAN -3 2013
                                                          Eastern District of Arkansas                   JAMES
                                                                                                         By:_-+~~~~~==-
          UNITED STATES OF AMERICA                                      Judgment in a Criminal Case                                       CLERK
                             v.                                         (For Revocation of Probation or Supervised Release)
                MANDY RENEE LEE

                                                                        Case No. 4:07cr00317-14 JMM
                                                                        USM No. 25389-009
                                                                         Kim Driggers
                                                                                                Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           General, Standard & Special of the term of supervision.
D was found in violation of condition(s)              - - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                           Nature of Violation                                   Violation Ended
General                           Failure to refrain from unlawful use of a controlled substance               10/09/2012

Special                           Failure to respond to code-a-phone drug testing                              11/13/2012

Standard 5                        Failure to work regularly at a lawful occupation                          01/01/2012



       The defendant is sentenced as provided in pages 2 through _ _4_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 0456                      01/03/2013
                                                                                           Date of Imposition of Judgment
Defendant's Year of Birth:          1984

City and State of Defendant's Residence:                                                         Signature of Judge
Newark, Arkansas
                                                                         James M. Moody                               US District Judge
                                                                                               Name and Title of Judge

                                                                         01/03/2013
                                                                                                        Date
                        Case 4:07-cr-00317-JM Document 863 Filed 01/03/13 Page 2 of 4
 AO 2450      (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment

                                                                                                  Judgment- Page    2     of     4
 DEFENDANT: MANDY RENEE LEE
 CASE NUMBER: 4:07cr00317-14 JMM


                                                                 IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
TIME SERVED




      D The court makes the following recommendations to the Bureau of Prisons:




      D   The defendant is remanded to the custody of the United States Marshal.

      D   The defendant shall surrender to the United States Marshal for this district:
          D    at  - - - - - - - - - D a.m.                        D     p.m.    on
          D    as notified by the United States Marshal.

      D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D    before 2 p.m. on
          D    as notified by the United States Marshal.
          D    as notified by the Probation or Pretrial Services Office.

                                                                         RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                      to

 at   - - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                                By
                                                                                           DEPUTY UNITED STATES MARSHAL
                       Case 4:07-cr-00317-JM Document 863 Filed 01/03/13 Page 3 of 4
  AO 245D     (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release
                                                                                                     Judgment-Page      3    of          4
  DEFENDANT: MANDY RENEE LEE
  CASE NUMBER: 4:07cr00317-14 JMM
                                                             SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of :
ONE (1) YEAR



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
 from the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
 tests thereafter as determined by the court.
 D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 t/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
 t/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 D      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
 D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)         the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
 3)         the. defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
 4)         the defendant shall support his or her dependents and meet other family responsibilities;
 5)         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
 6)         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)         the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)         the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)         the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted permission to do so by the probation officer;
 10)        the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
 12)        th~ defendant shap ~at enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permissiOn of the court; and
 13)        as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics ana shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notificatiOn requirement.
                    Case 4:07-cr-00317-JM Document 863 Filed 01/03/13 Page 4 of 4
 AO 2450   (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet 3C- Supervised Release

                                                                                        Judgment-Page   _4_ of         4
 DEFENDANT: MANDY RENEE LEE
 CASE NUMBER: 4:07cr00317-14 JMM

                                            SPECIAL CONDITIONS OF SUPERVISION

1) The defendant shall participate in a residential treatment followed by six (6) months chemfree living, as directed by the
United States Probation Office. The defendant shall abstain from the use of alcohol throughout the course of treatment.

2) The defendant shall participate in mental health counseling under the guidance and supervision of the U. S. Probation
office.
